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           Matthew Borden, admitted pro hac vice
           borden@braunhagey.com
           J. Noah Hagey, admitted pro hac vice
           hagey@braunhagey.com
           Athul K. Acharya, OSB No. 152436
           acharya@braunhagey.com
           Gunnar K. Martz, admitted pro hac vice
           martz@braunhagey.com
           BRAUNHAGEY & BORDEN LLP
           351 California Street, Tenth Floor
           San Francisco, CA 94104
           Telephone: (415) 599-0210
           Kelly K. Simon, OSB No. 154213
           ksimon@aclu-or.org
           AMERICAN CIVIL LIBERTIES UNION FOUNDATION OF OREGON
           P.O. Box 40585
           Portland, OR 97240
           Telephone: (503) 227-6928
           Attorneys for Plaintiffs


                                        UNITED STATES DISTRICT COURT

                                               DISTRICT OF OREGON

                                                PORTLAND DIVISION

           INDEX NEWSPAPERS LLC, a Washington                    Case No. 3:20-cv-1035-SI
           limited-liability company, dba PORTLAND
           MERCURY; DOUG BROWN; BRIAN
           CONLEY; SAM GEHRKE; MATHIEU                           DECLARATION OF JUNGHO KIM IN
           LEWIS-ROLLAND; KAT MAHONEY;                           SUPPORT OF PLAINTIFFS’ MOTION
           SERGIO OLMOS; JOHN RUDOFF;                            FOR TEMPORARY RESTRAINING
           ALEX MILAN TRACY; TUCK                                ORDER AND PRELIMINARY
           WOODSTOCK; JUSTIN YAU; and those                      INJUNCTION AGAINST DEFENDANTS
           similarly situated,                                   U.S. DEPARTMENT OF HOMELAND
                          Plaintiffs,                            SECURITY AND U.S. MARSHALS
                                                                 SERVICE
                   v.
           CITY OF PORTLAND, a municipal
           corporation; JOHN DOES 1-60, officers of
           Portland Police Bureau and other agencies
           working in concert; U.S. DEPARTMENT OF
           HOMELAND SECURITY; and U.S.
           MARSHALS SERVICE,
                          Defendants.

           PAGE 1       DECLARATION OF JUNGHO KIM ISO MOTION FOR TRO AGAINST
                        FEDERAL DEFENDANTS
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                   I, Jungho Kim, declare:

                   1.         I am a California resident who lives in the City of San Francisco. I am a freelance

           photojournalist. My work has been published in the San Francisco Chronicle, CalMatters, and

           other outlets. I attended the Portland protests for the first time on the night of July 19, 2020. If

           called as a witness, I could, and would, testify competently to the facts below.

                   2.         I was clearly marked as press. I wore a reflective neon yellow vest with a large

           reflective white stripe that said “PRESS” in big block letters, as well as a white helmet with

           reflective patches on the sides that said “PRESS” on the front and rear. I also wore a press pass

           issued by the National Press Photographers’ Association, the largest and oldest body of

           professional photojournalists in the United States. I was using a professional Sony A9 camera

           with a 35mm lens.

                   3.         I have covered protests in Hong Kong and the Bay Area, and I know how to

           conduct myself as a journalist during protests. I never, ever take part in the protests and have

           never uttered a chant. When the police are dispersing a crowd, I know to get out of the way and

           do my work from the side. Because I follow these principles, I have never been shot by the

           authorities in Hong Kong or the Bay Area. The federal agents who shot me last night are a

           different story.

                   4.         After the fence outside the federal courthouse had been taken down, federal

           agents came outside to disperse the crowd. They were firing tear-gas canisters, pepper bullets,

           and other munitions. Because of my experience, I knew to move to the side.

                   5.         Federal agents pushed protesters all the way to the west side of the park. I stayed

           parallel with them for a while, but wanted a photo from the rear, so I let them get ahead of me.

           This group of agents got as far as 10 meters in front of me. Another group of agents was setting

           up a defensive position 20-30 meters away.




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                   6.     This is a true and correct copy of a photograph I took around this time. It

           accurately depicts the distance from me to the nearest group of officers:




                   7.     Suddenly, without warning or reason, an agent shot me in the chest with a pink

           marker round. It did not hurt me, because I was wearing a ballistic vest, but it hit me directly

           below the heart. That is an unacceptable use of force for almost any round intended to be less

           than lethal. I do not believe it was an accident, either, because I was stationary and there were no

           protesters around me that agents might have been aiming at.




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                   8.     This is a true and correct copy of a photograph I took of my torso area

           immediately after the federal agents shot me:




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                   9.     This is a true and correct copy of a photograph I took of some type of munition

           fired into and exploding in the middle of a group consisting mostly of press and NLG legal

           observers:




                   10.    I would like to continue attending and documenting the protests. That is my job,

           and I have been able to do it in other places, including Hong Kong, without being willfully and

           maliciously shot. I am fearful, however, that U.S. federal agents will continue to target me and

           possibly injure me to a much greater extent than they did on this occasion.



                   I declare under penalty of perjury under the laws of United States of America that the

           foregoing is true and correct.



           Dated: July 21, 2020
                                                                             Jungho Kim


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                         FEDERAL DEFENDANTS
